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 3
     Telephone: (916) 422-4022
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                    )
 8   UNITED STATES OF AMERICA,                      )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                           )
                                                    )   STIPULATION AND ORDER
10          v.                                      )   CONTINUANCE OF JUDGMENT AND
                                                    )   SENTENCING
11   JORGE VEGA-MACIAS,                             )
              Defendant.                            )   Date: May 10, 2018
12                                                  )   Time: 9:30 a.m.
13                                                  )   Judge: Troy L. Nunley

14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for May 10, 2018, is continued to September 6,
16
     2018, at 9:30 a.m. in the same courtroom. Defendant needs additional time to prepare
17
     for sentencing. Justin Lee, Assistant United States Attorney, and Thomas A. Johnson,
18
     Defendant’s attorney, agree to this continuance. The PSR schedule is to be amended as
19
     follows:
20
21   Judgment and Sentencing date:                             September 6, 2018
22
23   Reply or Statement                                        August 30, 2018

24   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  August 23, 2018
25   served on the Probation Officer and opposing
26   counsel no later than:

27   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               August 16, 2018
28   than:


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 1
     Counsel’s written objections to the Pre-
 2   Sentence Report shall be delivered to the              August 2, 2018
     Probation Officer and opposing counsel
 3   no later than:
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: May 4, 2018                                     /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
 8                                                          Attorney for Jorge Vega-Macias
 9
10                                                          McGREGOR W. SCOTT
                                                            United States Attorney
11
12   Dated: May 4, 2018                                     /s/ Justin Lee
                                                            JUSTIN LEE
13
                                                            Assistant U.S. Attorney
14
15                                               ORDER
16
17          IT IS SO ORDERED.
18
     DATED: May 4, 2018
19
20
21                                                       Troy L. Nunley
                                                         United States District Judge
22
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